         Case 5:20-cv-00205-OLG Document 95 Filed 02/03/23 Page 1 of 4




                 IN THE UNITED STATED DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
 Ann Marie Attridge                   §
                                      §
                            Plaintiff   Civil Action No.:
                                      §
                                      §                   5:20-cv-00205-OLG
                                      §
                versus
                                      §
                                      §
                                      §
 Colonial Savings F.A., &             §
 TransUnion, LLC                      §
                          Defendants §


   Plaintiff’s Sur-Reply to Defendant’s Motion to Dismiss for Lack of Standing


Repeated dissemination of incorrect information by Colonial Savings F.A. (“Colonial”)

unquestionably confers Article III standing for Plaintiff to pursue her claims in this

matter. Plaintiff has pleaded and provided sufficient evidence to proceed to trial and show

that she has suffered concrete, particularized, and actual harm as defined by the United

States Supreme Court.


Defamation per se is not a requirement to establish Article III standing under the
FCRA.
   1. In the eleventh hour of this matter, Defendant contests the adequacy of Plaintiff’s

       pleadings relating to the concrete harms alleged.

   2. Defendant’s Reply relies on the distinction between defamation per se and

       defamation per quod. However, Defendant acknowledges that the Supreme Court
     Case 5:20-cv-00205-OLG Document 95 Filed 02/03/23 Page 2 of 4




   in Ramirez does not require this standard be met in the pursuit of a claim for

   damages caused by a defendant’s violation of the FCRA. Docket No. 93, n. 1.

3. Defendant acknowledges that “[t]he elements for a claim of defamation are the

   publication of a false statement to a third party and that this publication

   proximately caused damages to the plaintiff.” Docket No. 93, ¶ 3. It cites Texas

   law in saying that a good dentist can be a bad businessperson and not suffer

   reputational harm for being falsely called bankrupt. Shipp v. Malouf, 439 S.W.3d

   432, 441 (Tex. App. – Dallas 2014, pet. denied). As well as a 7th Circuit case

   explaining that calling former NBA player Scottie Pippen bankrupt did not

   constitute defamation. Pippen v. NBCUniversal Media, LLC, 734 F.3d 610, 613 (7th

   Cir. 2013).

4. Additionally, Defendant’s original Motion to Dismiss for Lack of Standing stated,

   “for an injury to be concrete, the Supreme Court has ‘emphasized repeatedly’ that

   it ‘must be concrete in both a qualitative and temporal sense. The complainant

   must allege an injury to [herself] that is distinct and palpable, as opposed to merely

   abstract.” Docket No. 89, p. 6 (quoting Whitmore v. Arkansas, 495 U.S. 149, 155

   (1990) (internal citations and quotations omitted)).

5. Malouf explains when false information is defamation:

          “These cases illustrate the principle stated in Hancock— to be defamatory
          per se, the words must adversely affect the plaintiff's fitness for the proper
          conduct of his business, trade, or profession. The words must touch the



                                          2
        Case 5:20-cv-00205-OLG Document 95 Filed 02/03/23 Page 3 of 4




             plaintiff in a way harmful to one engaged in his particular business or
             profession. A merchant or building contractor will be touched in their
             profession by a false statement of bankruptcy, but not necessarily others.
             Thus we reject Malouf's argument that a false charge of bankruptcy is
             always defamation per se.
             Shipp v. Malouf, 439 S.W.3d 432, 441 (Tex. App.—Dallas 2014, pet. denied)
             [internal citations omitted]
   6. Here, Ann Attridge made a declaration wherein she explains that she spent her

      career as a mortgage loan officer. See Docket No. 40-1. More than a merchant, she

      is a banking professional. She has had substantial training in compliance. She holds

      an NMLS license. For someone to say that her mortgage was included in

      bankruptcy goes to the heart of who she is and what she does. It touches on her in a

      way easily considered harmful to her profession.


Hypersensitive or not, Colonial takes Attridge as Found
   7. Defendant does not contest that it repeatedly provided TransUnion with

      inaccurate information relating to Plaintiff. Defendant admits that its

      organizational and procedural lapses caused TransUnion to disseminate and

      publish these inaccuracies to third-party businesses.

   8. Defendant’s evaluation of Plaintiff’s damages concludes that Plaintiff has is

      hypersensitive. It claims “a hypersensitive allegation of mental anguish” (Docket

      No. 93, ¶ 9) or “hypersensitivity to feeling embarrassed that others might think

      she filed bankruptcy” (Docket No. 93, ¶ 11).



                                            3
        Case 5:20-cv-00205-OLG Document 95 Filed 02/03/23 Page 4 of 4




   9. Defendant, therefore, implies that even though it repeatedly violated the FCRA,

      Plaintiff has not suffered concrete harms—harms that may be “difficult to prove

      or measure” (Spokeo, 578 U.S. at 341)—and that Defendant does not believe

      Plaintiff has suffered an “actual injury” (Docket No. 93, ¶ 11). Fortunately, as this

      Court has previously held, this determination remains in the hands of a jury, not

      Defendant. (See Docket No. 51, § III(A-B)). If Defendant is correct and Plaintiff is

      unusually sensitive even to the point of being hypersensitive to being called

      bankrupt, in 5th Circuit a Defendant takes a Plaintiff as found—with no limitation.

      Koch v. United States, 857 F.3d 267, 274 (5th Cir. 2017).

   10. Attridge has suffered multiple violations of her legally protected interests. These

      repeated violations have caused her concrete, particularized, and actual harm that

      is neither conjectural nor hypothetical. Thus, the Court must deny Colonial

      Savings F.A.’s Motion to Dismiss for Lack of Standing.

Dated: January 27, 2023                   Respectfully Submitted,

                                          /s/William M. Clanton
                                          William M. Clanton
                                          Texas Bar No. 24049436

                                          Law Office of Bill Clanton, P.C.
                                          926 Chulie Drive
                                          San Antonio, Texas 78216
                                          Phone: (210) 226-0800
                                          Fax: (210) 338-8660
                                          Email: bill@clantonlawoffice.com



                                             4
